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5    Attorneys for Defendant
     JOSEPH RYAN
6
7
                                    UNITED STATES DISTRICT COURT
8
                                  EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                 )   No. 15-mj-30 DAD
                                               )
11                          Plaintiff,         )   STIPULATION AND [PROPOSED]
                                               )   ORDER TO CONTINUE
12            v.                               )   PRELIMINARY HEARING
                                               )
13   JOSEPH RYAN, et al.,                      )   Date: June 4, 2015
                                               )   Time: 2:00 p.m.
14                         Defendants.         )   Judge: Hon. Edmund F. Brennan
                                               )
15                                             )
16
               The United States of America, through its counsel, Assistant U. S. Attorney
17
     Michelle Rodriguez, and defendant, Joseph Ryan, through Assistant Federal
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     Defender, Noa E. Oren, defendant, Leonard Velasco, through his counsel, Dustin
19
     Johnson, and defendant, Keri Southwood, through her counsel, Clemente Jimenez
20
     stipulate that the Preliminary Hearing, currently scheduled for April 23, 2015, be
21
     continued to June 4, 2015 at 2:00 p.m.
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                The continuance is requested because defense counsel for RYAN is
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24
     preparing for an upcoming trial in United States v. Troy Stratos, Case No. 11-cr-

25
     537 TLN, which is scheduled to commence on May 4, 2015. The government has

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     agreed to extend time for the trial preparation. Additionally, the continuance is

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     requested because the parties are negotiating a joint settlement of this case.

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      Stipulation to Continue                      -1-                           15-mj-030 DAD
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1              The parties agree that the above reasons constitute good cause to extend the
2    time for preliminary hearing under Fed. R. Crim. P. 5.1, and that the Court should
3    extend the time within which the government must file an indictment to June 4,
4    2015.
5              The parties stipulate that the ends of justice served by granting the
6    defendants’ request for a continuance outweigh the best interest of the public and
7    the defendants in a speedy trial, and that this is an appropriate exclusion of time for
8    defense preparation within the meaning of 18 U.S.C. § 3161(h)(7) (Local Code
9    T4).
10   DATED: April 6, 2015                       HEATHER E. WILLIAMS
11                                              Federal Defender
12
                                                /s/ Noa E. Oren
13                                              NOA E. OREN
14                                              Assistant Federal Defender
                                                Attorney for JOSEPH RYAN
15
16   DATED: April 6, 2015                       /s/ Dustin Johnson
                                                DUSTIN JOHNSON
17
                                                Attorney for LEONARD VELASCO
18
     DATED: April 6, 2015                       /s/ Clemente Jimenez
19
                                                CLEMENTE JIMENEZ
20                                              Attorney for KERI SOUTHWOOD
21
     DATED: April 6, 2015                       BENJAMIN B. WAGNER
22                                              United States Attorney
23
                                                /s/ Michelle Rodriguez
24                                              MICHELLE RODRIGUEZ
25
                                                Assistant U.S. Attorney

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      Stipulation to Continue                     -2-                                  15-mj-030 DAD
       Case 2:15-cr-00116-KJM Document 42 Filed 04/08/15 Page 3 of 3


1                                           ORDER
2              Finding good cause, the Court orders the preliminary hearing continued to
3    June 4, 2015, at 2:00 p.m., before the Hon. Edmund F. Brennan; and, time
4    excluded for the reasons set forth above. The Court finds that the ends of justice
5    served by granting the defendants’ request for a continuance outweigh the interest
6    of the public and the defendants in a speedy trial.
7    DATED: April 7, 2015.
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      Stipulation to Continue                   -3-                              15-mj-030 DAD
